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                                  NORTTIERN DISTRICf, OF IITINOIS                              FEB 2    6   20le
                                         EA.STENN DTVISION
                                                                                             THOMAS G. BRUTON
                                                                                         CLERK U.S. OISTRICT COURT


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T,NITED STATES OF AII{ERICA
            PI.ATNTIFF



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                                                                    JUDGE:




                              MOTION FOR STIBSTITUTION OB COT'NSEL


   Defendant,   {a             { Zd                          --       ,acting ptt ee,hereby       requests that this
Hooorable Court grant him                                In support of this Motion, Defendant states:
    1.   Attorney,                                                       was appointed by this court and pursuant to
         the CriminalJ
    2. Irreconcilable differences have dereloped between Defeudant and                                       Attomey
                 n         24 i                                          .     .resulting in a complete breakdown of
                                              --
         communieation tfius making it impossible for counsel to provide Defendant with an adequate deftnse.


   WHERIFORE, Defendant,                                                                requests that this Honorable
Court order substitute counsel for Attorney        a
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                                              Respectfu Ily Subrnitted

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                                                            Pefendaut        Mr(P.\eS
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                                                       CHrcago.aL 60605
                                       CERTIFICATE OF SERVICE



                 Defendant,                                        a non-attorney, states under penalties
          of perjury, that on this tZffi day of                     20 /4,he seryed the foregoing
          MOTION F'OR SUBSTITUTION OF                   NSELupon:

                Clerk of the Court
                219 S. Dearbom St.                                  caseNo.    ,5   eB. .t85
                Chicago, Illinois 50604

          by placing same in the U.S. Mail depository at the Metropolitan Correctional Center, postage
          prcpaid, before the hour of 5:00 p.m.



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                                                                     Defendant, Pro Se
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Jose Miretes         ++AZ(-ttl                                                   :a ,.:':::j .r:r'f.: ,l;':r:i;i1 11 il.1
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